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                    PSJ11 CVS Opp Exh 17
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                                            Geographic zone definitions
Zone 1             CT, MA, ME, NH, RI, VT
Zone 2             NJ, NY, OH, PA
Zone 3             DC, DE, MD, VA, WV
Zone 4             AL, AR, LA, MS, OK, TX
Zone 7             IL, IN, MI, MN, MO, WI
Zone 8             GA, KY, NC, SC, TN
Zone 12            FL
Zone 14            AK, AZ, CA, CO, HI, ID, NM, NV, OR, UT, WA, WY
Zone 18            IA, KS, MT, ND, NE, SD
Zone 20            PR
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Date         Store #             Address      DEA contact

                       700 W Seminary Drive
 2/29/2012    7455     Fort Worth, Texas      Joel Dunn
                       5420 Dewey Drive
11/21/2012    9199     Fair Oaks, CA          Mark Jackson
                       2601 Oakdale Road
11/21/2012    9884     Modesto, CA            Mark Jackson
                       700 W Seminary Drive
11/21/2012    9919     Fort Worth, Texas      Mark Jackson

                       Longs drugs
                       55 Kiopa Street
 10/1/2013    3059     Pukalani, HI           Michael Lewis (LA Office)
                       Longs drugs
                       1900 Main Street
 10/1/2013    4496     Wailuku, HI            Michael Lewis (LA Office)

                       Longs drugs
                       41 East Lipoa Street
 10/7/2013    4492     Kihei, HI              Michael Lewis (LA Office)
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